Case 8:13-cr-00316-JSM-AEP Document 82 Filed 12/16/13 Page 1 of 2 PageID 232




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                                Case No. 8:13-cr-316-T-30AEP

  MARCIE LYNN KOLBUSZ


                      FORFEITURE MONEY JUDGMENT AND
               PRELIMINARY ORDER OF FORFEITURE FOR SPECIFIC ASSET

         THIS CAUSE comes before the Court upon the United States' Motion (Doc.

  80) for:

         (1)     A Forfeiture Money Judgment in the amount of $96,000.00; and

         (2)     A Preliminary Order of Forfeiture for approximately $18,740.12 in
                 proceeds from the sale of 1427 N.E. 5th Lane, Cape Coral, Florida
                 33909.

         Being fully advised of the relevant facts, the Court hereby finds that at least

  $96,000.00 was derived in proceeds from the drug trafficking conspiracy to which

  the defendant pled guilty and that the real property was used to facilitate the

  conspiracy, thus making the real property sales proceeds directly traceable to the

  conspiracy.

         Accordingly, it is hereby:

         ORDERED, ADJUDGED, and DECREED that for good cause shown, the

  United States= motion (Doc. 80) is GRANTED.

         It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853 and Rule

  32.2(b)(2) of the Federal Rules of Criminal Procedure, the defendant shall be held
Case 8:13-cr-00316-JSM-AEP Document 82 Filed 12/16/13 Page 2 of 2 PageID 233




  jointly and severally liable with co-defendant Michael Kolbusz for a forfeiture

  money judgment in the amount of $96,000.00.

           It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853 and Rule

  32.2(b)(2), the net sales proceeds identified above are hereby forfeited to the

  United States for disposition according to law. The net proceeds will be credited

  toward the defendant’s forfeiture money judgment.

           It is FURTHER ORDERED that, upon entry of this order, it shall become a

  final order of forfeiture as to the defendant.

           The Court retains jurisdiction to address any third party claim that may be

  asserted in these proceedings, to enter any further order necessary for the

  forfeiture and disposition of such property, and to order any substitute assets

  forfeited to the United States up to the amount of the forfeiture money judgment.

           DONE and ORDERED in Tampa, Florida, this 16th day of December, 2013.




  Copies to:
  Counsel/Parties of Record
  S:\Even\2013\13-cr-316 Marcie 80 forfeit.docx




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